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                                                                   Received Pro Se Office via Box.com
 UNITED STATES DISTRICT COURT FOR THE
                                                                            Feb.28.2024
 EASTER'! DISTR[CT OF NEW YORK
                                                                              2:57pm
 ----------------------------- X
 SAIT A_NVARBEKOVICH KL'R\lANGALIYEV

                        Plaititiff,
                                                                       AMENDED CO:\.[PLAINT
                v.
                                                22-CV-5656 (AMD-CLP)
 THE CITY OF >,EW YORK,
 THE NE\V YORK CITY IJEPART'\I.ENT OF FINANCE,
 THE OFFICE OF THE SHERIFF OF THE CITY Ot· NEW YORK.
 QUEENS COUNTY SHERIFF'S DEPARTMENT,
 QUEENS COUNTYDEPUTYSHER!FF MARZAN,
 ,JOHN DOE SHERIFF DEPUTY #l,
 JOHN DOE SHERIFF DEPUTY #2,
 JOHN DOE SIIERJFF DEPUTY #3,
 JOHN DOE SHERIFF DEPUTY #4, AND
 JOHN IJOE SHER!FF DEPUTY #5.

 (QUEE:-.S COUNTY SHERIFF DEPUTIES)

                        Defoudants,




        PlaintlffSait Anvarbekovich Kurmanga!iyey, appearing P:ro Se, as and for hi&Amended

 Complaint, hereby alleges as follows:

                                  PRELIMINARY STATEMENT

        1. This is a civil action purauant to 42 U.S.C. § 1983 and the laws of the State of New York.

 Plaintiff brings. this action for violation of his 41h Amc'ndment right to be free from unreasonable

 stop and Ss;;izur:e by the Defelldants hased on established mticu!ahle standards. Plaintiff should not

 have been stopped and seized_, except for'prohable cause or reasonable suspicion that he C{>mmitted

 a crime. Plaintiff also -brings this action ,against Defendants the New York City Departme11t of
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 Finance (''NYC DOF"), the New York City Sheriffs Office, Queens County Sheriffs Department,

 Deputy Sheriff Marzan and the other 5 John Doe Sheriff Deputies (as all hereinafter defined) as a

 supplemental state claim for malicious prosecution of Plaintiff in the Manhattan South Traffic

 Violations Bureau for allegedly "'driving with a covered license plate." The ticket for purpotied!y

 driving with "a covered license plate" was dismissed in Traffic Court. Plaintiff also brings this

 action against Defendants DOF, NYC Sheriff's Office, Queens Sheriffs Department, Deputy

 Sheriff Marzan and the other 5 John Doe Sheriff Deputies (as all hereinafter defined) for violation

 of his rights under the New York State Constitution. Plaintiff seeks damages, _other equitable relief,

 and costs of this action, with disbursements.

                                          JURISDICTION

        2. This action asserts claims under 42 U.S.C. §1983 and the laws of the State of New York.

 Accordingly, this Court has original jurisdiction over this action pursuant to 28 U.S.C. § I331 and

 28 u.s.c. § 1343.

        3. The state law claiins asserted in this action are so related to the claims over which the

 Comi has original jurisdiction that they form part of the same case or controversy. Accordingly,

 this Court has supplemental jurisdiction over the state law claims pursuant to 28 lJ.S.C. § 1367.

                                                 VENUE

        4. Venue is proper in the United States District Court for the Eastern District of New York,

 pursuant to 28 U.S.C. Section 139I(b) and l 12(c).

                                              JURY DEMAND

        5. Plaintiff demands trial by jury in this action.

                                              PARTIES




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        6. Plaintiff Sait Anvarbekovich Kurmangaliyev currently resides at 2533 Batchelder St.,

 Apt 20, in Kings County, New York State.

        7. Defendant City Of New York ("NYC") is a Municipal Corporation of the State of New

 York. NYC through its agencies promulgates and implements policies and procedures, including

 those with respect to law enforcement, and the regulation and supervision of the New York City

 Department of Finance (''NYC DOF"). Senior officials in these NYC agencies, such as NYC DOF,

 are aware of and tolerate practices by subordinate employees, including those that are inconsistent

 with formal policies. These practices, because they are widespread and deeply embedded in the

 culture of the DOF, constitute unwritten departmental policies. NYC is also responsible for the

 appointment, training, supervision and conduct of all DOF personnel, including the defendants

 mentioned herein.

        8. Defendant NYC DOF is the revenue service, taxation agency and recorder of deeds of

 the government of New York City. The department is responsible for appointment, training,

 supervision and conduct ofall of the Office of the Sheriff of the City of New York ("NYC Sheriffs

 Office") personnel, including the defendants mentioned herein.

        9. Defendant NYC Sheriffs Office, is the primary civil law enforcement agency for the

 City of New York. The NYC Sheriffs Office is a division of the NYC DOF, operating as an

 enforcement arm. The NYC Sheriffs Office handles investigations concerning cigarette tax

 enforcement, real estate pro_perty/deed fraud and other matters deemed necessary by the DOF. The

 NYC Sheriff's Office is responsible for the appointment, training, supervision and conduct of all

  Sheriffs Offices personnel in NYC, including the defendants mentioned herein. NYC Sheriffs

 Office is also responsible for the management and control of all the NYC Sheriffs Offices.

  including the Queens County Sheriff's Department ("'Queens Sheriffs Department").




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        10. Queens Sheriff's Department is a department/division of the NYC Sheriff's Office, and

 it is the employer of Queens County Deputy Sheriff Marzan and, upon information and belief, the

 other 5 John Doe Sheriff Deputies involved with the incident subject to this Complaint. Queens

 Sherifrs Depa1tment is aware of and tolerates practices by its employees, including those that are

 inconsistent with fonnal policy. These practices, because they are widespread and deeply

 embydded in the culture of the Queens Sheriffs Department, constitute unwritten departmental

 policy. The Queens Sheriffs Department is also responsible for the appointment, training,

 supervision and conduct of all its personnel, including the defendants Queens County Deputy

 Sheriff Marzan (''Deputy Sheriff Marzan'') and John Doe Sheriff Deputy #I, John Doe Sheriff

 Deputy #2, John Doe Sheriff Deputy #3, John Doc Sheriff Deputy #4, and John Doe Sheriff Deputy

 #5 ("John Doe Sheriff Deputies"), mentioned herein.

        11, Defendant Deputy Shel'iffMarzan is, upon infonnation and belief, a deputy sheriff with

 Queens Sheriff's Department and is identified as officer 0837 with officer's badge: 669097.

 Plaintiff was not provided with the first name of Deputy Sheriff Marzan. Deputy Sheriff MarLan

 violated Plaintiff's 41h Amendment right to be secure in his person and to be free from unreasonable

 stop and seizure. Deputy SheriffMarLan is sued in his individual and official capacity.

        12. John Doe Sheriff Deputies are about 4 sheriff deputies assigned to the Queens Sheriffs

 Department. The assignments of the John Doe Sheriff Deputies are not known to Plaintiff These

 5 John Doe Sheriff Deputies were present and directly supported and assisted Deputy Sheriff

 Marzan during the incident subject to this Complaint. These 5 John Doe Sheriff Deputies vioJated

 Plaintiff's 4th Amendment right to be secure in his person and to be free from unreasonable stop

 and seizure. John Doe Sheriff Deputies are sued in their individual and official capacity.

                                              FACTS




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         13. On August 19, 2022 at approximately 12:20 p.m., Plaintiff was trying to find a parking

  spot near 1 Police Plaza and Plaintiff temporarily parked his car in front of Deputy Sheriff

  Marzan's cruiser which was double parked by another vehicle. Plaintiff approached Deputy Sheriff

 Manan on foot while, Deputy Sheriff Marzan was sitting in his sheriff cruiser on Pearl St. to inquire

 about parking in downtown Manhattan, New York.

         14. Plaintiff politely said "Hello, I saw your cruiser activated its emergency lights and

 wanted to ask if you were planning to leave any time soon from a parking spot?'". Plaintiff simply

 wanted to find out if Deputy Sheriff Marzan was about to leave (since his emergency lights were

 on) and potentially take the freed parking space.

         15. Deputy Sheriff Marzan, after continuous pause tersely responded by asking Plaintiff

 "Why did you pepper spray your license plate?". This was a direct and unfounded accusation of

 Plaintiff, and it was not true, because while Plaintiffs car rear license plate had some minor dirt

 spots from driving on a dirt road the day before, it was clearly visible and not covered or spraye!i

 with anything.

         16. Plaintiff would not have knowingly stopped his car in front of Deputy Sheriff Marzan 's

 cruiser if Plaintiff had spayed or covered his license plate in any way.

          I7. Plaintiff politely responded that "I don't know what you are talking about, can you just

 tell me if you planning to leave, and I'll be on my way?".

         18. Deputy Sheriff Marzan yelled at Plaintiff "you know what I'm talking about!" and

 Deputy Sheriff Marzan came out of his sheriff cruiser and demanded Plaintiff show him his ID.

         19. Plaintiff responded, "Yeah I have an ID, but you can't ID me, New York is not stop

 and ID state.'' and Plaintiff tried to explain to Deputy Sheriff Marzan that in New York, a person

  is not required to catTy ID, and a person does not have to show TD to a police officer.




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         20. Deputy Sheriff Marzan yelled at Plaintiff"No, you are wrong! Let me see your license!

 Where is your license?", at the same time about 5 John Doe Sheriff Deputies started approaching

 and encircling Plaintiff.

         21. Plaintiff calmly responded that his driver's license is in his car, but he is not required

 to show it to Deputy Sheriff Marzan because New York is not a stop and ID state.

         22. Deputy Sheriff Marzan shouted and ordered Plaintiff to "go get your license!", while

 one of the other 5 John Doe Sheriff Deputies stood right next to Deputy Sheriff Marzan.

         23. Plaintiff again politely asked for what reason he had to provide his driver's license.

         24. Without providing any explanation Deputy Sheriff Marzan again shouted and ordered

 Plaintiff to "Go get your license!".

        25. Plaintiff still confused, asked again ·'why are you forcing meT'.

        26. Deputy Sheriff Marzan continued shouting to Plaintiff to "go get your license!", and

 Deputy Sheriff Marzan threateningly stated, "cause now this is a trafl1c stop, 1'm lawfully asking

 you for your license or l will place you under arrest for failure!'', Plainfrff took and understood this

 as a direct threat by Deputy Sheriff Marzan.

         27. Scared not to be arrested 1 Plaintiff went and sat in the driver seat of his car.

         28. Deputy Sheriff Marzan blocked Plaintiffs open driver's door and kneeled on the door

 from the inside of the door putting pressure on it, while the other 5 John Doe Sheriff Deputies

 encircled the Plaintifrs car from the back and the sides. Plaintiff and his car were surrounded, and

 Plaintiff was not allowed to move or leave.

         29. lnvoluntarily and under the threat of arrest, Plaintiff found his registration and showed

 his insurance certificate in digital format on his phone screen to Deputy Sheriff Marzan while still




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 looking for his driver's license. Plaintiff tried to explain to Deputy Sheriff Marzan that this was a

 violation of his Constitutional rights.

         30. Deputy SheriffMarLan while holding all vehicle papers continued to threaten and shout

 at Plaintiff "give me your driver's license!"

         31. Plaintiff repeatedly asked Deputy Sheriff Marzan ·'why are you enforcing it?"

         32. Without providing any explanation Deputy Sheriff Marzan ordered and shouted at

 Plaintiff, ''Driver license! Driver license! Lefs go! Let's go!".

        33. Plaintiff stated to Deputy Sheriff Marzan that ·']'m trying to go to the police office at 1

 Police Plaza to obtain paperwork," while trying to explain the stop at that moment and that he was

 simply looking for a parking space,

         34. Deputy Sheriff Marzan ignored any attempts by Plaintiff for explanation and instead

 demanded and shouted to Plaintiff, "Driver License]!! ...

         35. Deputy Sheriff Marzan demanded '·Do you have a Hack(Taxi) license?"

         36. Plaintiff provided an affirmative response. and Deputy Sheriff Marzan demanded "Let

 me see your Hack license".

         37. Deputy Sheriff MarLan collected all papers from Plaintiff and stated, ''If you were to

 shut up ... :', and ordered Plaintiff to ''sit tight." Deputy Sheriff Marzan walked away with all

 collected papers and driver license of Plaintiff, while the other 5 John Doe Sheriff Deputies

 remained smrnunding Plaintiffs car from the sides ahd the back.

         38. While waiting for close to 27 minutes, Plaintiff expressed his disappointment to one of

 the other 5 John Doe Sheriff Deputies, but Plaintiff was just ordered to stay silent.

         39. In the meantime a black tow truck pulled up and parked right in front of Plaintiffs

 vehicle. This tow truck was driven by a person dressed in sheriff's gear who spoke with the John




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 Doe Sheriff Deputies standing around Plaintiffs car. Plaintiff noticed that the tow truck had its

 rear New York State ("NYS") license plate bended, which the Plaintiff brought to the attention of

 one of John Doe Sheriff Deputies because it appeared hypocritical that Plaintiff is stopped for

 obstrncted license plate which was not really obstructed while a tow truck operated by a sheriffs

 office employee had its rear NYS license plate bended and not visible.

         40. After Plaintiff waited for about twenty-seven minutes and was not allowed to leave or

 move, Deputy Sheriff Marzan came out of his Sheriffs cruiser with Plaintiffs vehicle paperwork

 and issued a Traffic Court summons for obstructed vehicle plate (Traffic Ticket: ABD7385350).

         41. Plaintiff noticed that it appeared to be the first time that Deputy Sheriff Marzan

 activated his body-worn camera since the beginning of the encounter.

         42. Deputy Sheriff Marzan approached Plaintiff and stated "ok, so it is a traffic court

 summons right, again, it is against the law to obstruct your plate."

         43. Plaintiff tried again to point out to Deputy Sheriff Marzan the apparent hypocrisy of

 the sheriffs tow truck with bended rear NYS license plate that was parked in front of Plaintiffs

 car, but Plaintiff was just ignored.

         44. Deputy Sheriff Marzan also directly threatened Plaintiff that he is ·'also going to notify

 TLC (Taxi-Limousine Commission) so they can call your vehicle for inspection".

         45. Even though Plaintiff objected to the validity of the lraffic violation summons, Plaintiff

 had to take it because Deputy Sheriff Marzan would not otherwise let him leave.

         46. The majority of the above events and interaction were recorded with some sound on

 Plaintiffs car front and rear dash camera-. Plaintiff also submitted a FOIL request with NYC DOF

 and was able to obtain a partial video from Deputy Sheriff Marzan's body-worn camera




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 documenting the end of the encounter when Deputy Sheriff Marzan gave the traffic violation

 summons to Plaintiff.



                                   FIRST CAUSE OF ACTION:

                  42 USC 1983 / 4'" AND 14'" AMENDMENT RIGHT AGAINST

                             UNREASONABLE STOP AND SEIZURE

         4 7.    Plaintiff incorporates by reference the allegations set forth in paragraph I through

 46 as though they were fully set forth here.

         48.    By reason of the foregoing, Defendants Deputy Sheriff Marzan and the other 5 John

 Doe Sheriff Deputies violated plaintiffs 4th and 14111 Amendment rights against unreasonable stop

 and seizure. Even though the encounter with Deputy Sheriff Marzan was initially consensual as

 Plaintiff voluntarily initiated it by stopping in front of the sheriff's car and approaching the sheriff

 to ask for a parking space, Deputy Sheriff Marzan started shouting at Plaintiff that "[c]ause now

 this is a traffic stop, I'm lawfully asking you for your license or I will place you under arrest for

 failure!" and oxdered Plaintiff to sit in driver seat of his car while Deputy Sheriff Marzan kept his

 driver"s door opened and kneeled on the door from the inside of the door putting pressure on it.

 The other 5 John Doe Sheriff Deputies had also surrounded the car of Plaintiff from behind and

 the sides.

         49. The temporary detention of Plaintiff during the stop of his car by the Deputy Sheriff

 Marzan and the other 5 John Doe Sheriff Deputies, even if only for a brief period and for a limited

 purpose, constitutes a ·•seizure'' of "'person'' within the meaning of 41\J and 14th Amendment.

         50. Plaintiffs car was slopped by Deputy Sheriff Marzan and the other 5 John Doe Sheriff

 Deputies without any probable cause or reasonable suspicion as Plaintiff's license plate was not

 covered, in violation of Plaintiff's 41h Amendment right of an individual to he free from


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  unreasonable stops and seizures. Plaintiff did not violate any law under New York State's Vehicle

  and Traffic Law and was not doing anything illegal to precipitate Defendants' stop of his vehicle.

  Plaintiff would not have knowingly stopped his car in front of Deputy SheriffMarzan's cruiser if

  Plaintiff had spayed or covered his license plate in any way.

         51.     Defendants Deputy Sheriff Marzan and the other 5 John Doe Sheriff Deputies

  exhibited a deliberate indifference to Plaintiff's right to be secure in his person, and to be free from

  unreasonable stop and seizure, in violation of Plaintiffs 4 th and J4lh Amendment right to the

  Constitution of the United States.

          52.     As a direct and proximate result of the misconduct and abuse of authority detailed

  above, Plaintiff sustained the damages alleged herein.



                                   SECOND CAUSE OF ACTION:

                       42 USC 1983 / 4> AND 14'" AMENDMENT AGAINST

                              UNREASONABLE STOP AND SEIZURE

          53.     Plaintiff incorporates by reference the allegations set forth in paragraph 1 through

  52 as though they were -fully set faith here.

          54. Defendants City ofNew York, NYC DOF, NYC Sheriffs Office, and Queens Sheriff's

  Department are aware of and tolerate practices by subordinate employees such as the actions

  subject to this Complaint by Deputy Sheriff Marzan and the other 5 John Doe Sheriff Deputies,

  which arc inconsistent with formal policies. These practices are widespread and deeply embedded

  in the culture of the department, and constitute unwritten departmental policies.

          55. The Queens Sheriff's Department is a law enforcement agency that, in addition to being

  responsible for law enforcement is also responsible for appointment. training and conduct of all




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  Queens Sheriff's Department personneL including Deputy Sheriff Marzan and the other 5 John

  Doe Sheriff Deputies.

         56.     By reason of the foregoing, Defendants NYC, DOF, NYC Sheriffs Office, and

  Queens Sheriffs Department violated Plaintiff's civil rights under the 4th and 14th Amendment to

  the Constitution of the United States against unreasonable stop and seizure. The Defendants

  conducted a stop and seizure of Plaintiffwitl:wut any probable cause or reasonable suspicion.

         57.     Defendants exhibited a deliberate indifference to Plaintiffs right to be secure in his

  person, and to be free from unreasonable seizure in violation of Plaintiff's rights under the 4 th and

  14 th Amendment to the Constitution of the United States.

         58.     As a direct and proximate result of the misconduct and abuse of authority detailed

  above, plaintiff sustained the damages alleged herein.



                                   THIRD CAUSE OF ACTION:

                                    MALICIOUS PROSECUTION

         59.     Plaintiff incorporates by reference the allegations set forth in paragraph 1 through

  58 as though they were fully set forth herein.

         60.     By reason of the foregoing, Defendants NYC DOF, NYC Sherifrs Office, Queens

  Sheriff's Department, Deputy Sheriff Marzan and the other 5 John Doe Sheriff Deputies stopped

  Plaintiffs car without any probable cause or reasonable suspicion and issued Plaintiff a ticket for

  "driving with a covered license plate" and caused the prosecution of plaintiff in the Traffic

  Violations Bureau. Plaintiff missed several hours of work and wages, in order to attend these

  traffic court hearings. No evidence of wrongdoing by Plaintiff was presented in Traffic Court and

  case was dismissed.




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         61.       As a direct and proximate result of the misconduct and abuse of authority detailed

  above. plaintiff sustained the damages alleged herein.

                                   FOURTH CAUSE OF ACTION:

     ARTICLE 1 SECTION 12 OF THE CONSTJTUTION OF THE STATE OF NEW YORK

         62.       Plaintiff incorporates by reference the allegations set faith in Paragraph l through

  61 as though they were fully set forth here.

         63.       By reason of the foregoing. Defendants DOF, NYC Sheriffs Office, Queens

  Sheriffs Department, Deputy Sheriff Marzan and the other 5 John Doe Sheriff Deputies, acting

  under the color of state law. willfully violated Plaintiffs rights under Article I Section 12 of the

  New York State Constitution, which supplements the 4th and 14th Amendment to the Constitution

  of the United States, and grants Plaintiff the right to be secure in his person and to be free from

  unreasonable seizure of his person.

         64.       As a direct and proximate result of the misconduct and abuse of authority detailed

  above, Plaintiff sustained the damages alleged herein.



         WHEREFORE, Plaintiff requests the following relief:

         A. Award Plaintiff compensatory damages against each and eveL)' defendant, including

               NYC, in an amount of not less than $15,000.00 (Fifteen Thousand Dollars).jointly and

               severally for violatLon of Plaintiffs_ rights under the 4th and 14 th Amendment to the

               Constitution of the United States, and Article 1 Section 12 of the New York State

               Constitution to be secure in his person and to be free from unreasonable seizure, and

               for malicious prosecution of Plaintiff for allegedly driving with a covered license plate.

         B. Ordering Deputy Sheriff Marzan and the other 5 John Doe Sheriff Deputies to undergo

               re-training on properly conducting traffic violation stops.


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           C. An order awarding plaintiff the costs of this action, with disbursements.

           D. Such other and further relief as the Cowt deems just and proper.



  Dated:

                                                                   /'


                                                        ~
                                                Sait A ~ h Kurmangaliyev

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